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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO


 PENGUIN RANDOM HOUSE LLC et
 al.,                                                 Case No. 1:25-cv-00061-AKB

                                   Plaintiffs,        DEFENDANT RAÚL
                      v.                              LABRADOR’S MOTION TO
                                                      DISMISS
 RAÚL LABRADOR, in his official
 capacity as Attorney General of the State
 of Idaho, et al.,

                                 Defendants.



       Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendant Raúl

Labrador, by and through counsel of record, moves to dismiss this action with prejudice for

lack of subject matter jurisdiction and failure to state a claim.


                                   DEFENDANT RAÚL LABRADOR’S MOTION TO DISMISS — 1
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       This Motion is supported by Defendant Raúl Labrador’s Memorandum in Support of

Motion to Dismiss, including attached exhibits, filed contemporaneously herewith.



       DATED: February 26, 2025.

                                          STATE OF IDAHO
                                          OFFICE OF THE ATTORNEY GENERAL


                                     By: /s/ Aaron M. Green
                                         AARON M. GREEN
                                         Deputy Attorney General

                                          Attorney for Defendant Raúl Labrador




                                DEFENDANT RAÚL LABRADOR’S MOTION TO DISMISS — 2
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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 26, 2025, the foregoing was electronically filed
with the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
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                                DEFENDANT RAÚL LABRADOR’S MOTION TO DISMISS — 3
